
667 S.E.2d 342 (2008)
STATE
v.
KELLY.
No. COA08-232.
Court of Appeals of North Carolina.
Filed October 21, 2008.
Certification Date November 10, 2008.
Case reported without published opinion. No. 06CRS057862, count 51, breaking or entering: No error. No. 06CRS057862, count 52, breaking or entering: no error. No. 06CRS057863, count 51, larceny after breaking or entering: No error. No. 06CRS057863, count 52, larceny after breaking or entering: Judgment of conviction reversed and sentence vacated. No. 06CRS057863, count 53, misdemeanor larceny: Judgment of conviction reversed and sentence vacated. No. 06CRS057864, count 51, felony possession of stolen goods: Judgment arrested. No. 06CRS057864, count 52, felony possession of stolen goods: Judgment arrested. No. 06CRS057864, count 53, misdemeanor possession of stolen goods, judgment arrested.
